915 F.2d 1571
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Junior Ray HOSKINS, Plaintiff-Appellant,v.Lisa COURSEY, Lonnie Winn, Defendants,Harold O'Daniel, Defendant-Appellee.
    No. 90-6043.
    United States Court of Appeals, Sixth Circuit.
    Oct. 2, 1990.
    
      Before KEITH and RALPH B. GUY, Jr., Circuit Judges, and LIVELY, Senior Circuit Judge.
    
    ORDER
    
      1
      This appeal has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      2
      Review of the record discloses that appellant filed a complaint pursuant to 42 U.S.C. Sec. 1983 in the United States District Court for the Western District of Kentucky.  On July 13, 1990, however, a magistrate for the district court dismissed that action pursuant to a settlement agreement executed by the parties.  Appellant then filed this appeal.
    
    
      3
      This court lacks jurisdiction over the appeal.  Parties who have consented to the entry of a judgment dismissing a cause of action pursuant to a settlement agreement generally have no status to take an appeal from that action.   White v. Commissioner, 776 F.2d 976, 977-78 (11th Cir.1985) (per curiam).
    
    
      4
      Accordingly, it is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    